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                                                          Exhibit A to the Complaint
Location: Merchantville, NJ                                                                         IP Address: 98.110.53.202
Total Works Infringed: 37                                                                           ISP: Verizon Fios
 Work      Hashes                                                                 UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                             05-27-     Blacked       06-01-2019    07-17-2019   PA0002188304
           A8A900F68D1470DE418DD2185447666C868F45CD                               2021       Raw
           File Hash:                                                             13:21:07
           4088203106C9904C556319D77A7C8FC3363F3842B21D17A0DDA94A76A6DD8FA6
 2         Info Hash:                                                             05-10-     Blacked       04-19-2021    04-27-2021   PA0002288984
           73FF56417B80001A7B359B7AD950366EA706DF13                               2021       Raw
           File Hash:                                                             06:58:25
           EDBBA2130B528B643297E287CBD82189A1FFD31C0F9FA6A943D45F021911BA7A
 3         Info Hash:                                                             05-03-     Blacked       03-22-2021    04-14-2021   PA0002286722
           E99423C73146CABA22B64FF972FDB3B66BC6D81C                               2021       Raw
           File Hash:                                                             02:45:26
           8852896000A54989467CAFC490427488EC8C572DE303EF5E41E903903FADC3E6
 4         Info Hash:                                                             04-30-     Blacked       03-29-2021    04-14-2021   PA0002286726
           978CE898A8AA756DCFE919BBA0A2EABA859D93FF                               2021       Raw
           File Hash:                                                             05:17:44
           C920A383263D3E07545233660661F2D4A82F68D612C36CB7DC1843BD8C41C393
 5         Info Hash:                                                             02-25-     Blacked       08-31-2020    09-05-2020   PA0002255473
           6037771671E3F13DC456266283B3B829A2CCD6C7                               2021       Raw
           File Hash:                                                             07:43:42
           5F3CF9CF0EF6BF158D8D52710FB4431C09B4CD4B9EB8BD01E48D638C02B30D23
 6         Info Hash:                                                             02-25-     Blacked       11-30-2020    01-04-2021   PA0002277037
           8CD924715A479D3D0E91C3B0E62BC25E883E62E5                               2021       Raw
           File Hash:                                                             07:42:48
           BDBCDF434CF419496FF3E8D769526E3BA168CCF989EE165CA197276A53CE6F04
 7         Info Hash:                                                             02-25-     Blacked       01-25-2021    02-09-2021   PA0002276145
           17E24B14F0D7A82581C3E61531C8DA80F962E46E                               2021       Raw
           File Hash:                                                             07:41:55
           D4C53B604B6D1528B5D4D64023456E5D9DC5328C5949DBB95677EC5D4D3D363D
 8         Info Hash:                                                             11-15-     Blacked       07-20-2020    08-11-2020   PA0002252263
           2294A414D64D9AA31D08C144CF4D104631A7BEF9                               2020       Raw
           File Hash:                                                             12:13:28
           4BC166B220C589E13AA09A8778779D95155F0AEE33FE2033B06D11C826B8C9F9
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         08-25-     Blacked   08-17-2020   09-05-2020   PA0002255472
       E15841938E8FDA9EE8C8ADC8F8A8694B4793BFFB                           2020       Raw
       File Hash:                                                         02:00:20
       72944541C7D6EE60DAB7A0E1BFAD8762E09159DCC444786AC148A754470BE4C1
10     Info Hash:                                                         07-15-     Blacked   06-08-2020   06-25-2020   PA0002255509
       E410F33384AA7AF5BA07E2BE74E012D22910345D                           2020       Raw
       File Hash:                                                         11:28:53
       298EDF6A5F418A22094BF7150147769581BADDC8A9C6460E7A53579EBA1E4385
11     Info Hash:                                                         07-15-     Blacked   06-15-2020   07-17-2020   PA0002248596
       C63144F64B9547BE9906EA7046AAF8FE428E95ED                           2020       Raw
       File Hash:                                                         11:27:55
       1AA52D9D79432616DAA21D7BB04990D86B45DEAF1FFE5FA2721C89DD5EA2780C
12     Info Hash:                                                         07-15-     Blacked   06-29-2020   07-17-2020   PA0002248598
       14AB1F3D09A7FD1F5B4014B7D932F7FAC768DEC8                           2020       Raw
       File Hash:                                                         11:27:06
       6D76F838EB0CC3D4537F6D58B82C60D51A6778E781AEB91C4B2B2FBE14F56B3A
13     Info Hash:                                                         04-19-     Blacked   04-06-2020   04-17-2020   PA0002237306
       28B8B31C792F1CA34A908834F37BBD4399E80A0C                           2020       Raw
       File Hash:                                                         08:01:49
       FF460F609C0680B6B4BD70DC2BE94C1ADA2A5BF2DF66C005BAEE0A1C35D407AD
14     Info Hash:                                                         04-19-     Blacked   04-13-2020   04-22-2020   PA0002237695
       F9868546BBF9264CB4609B0C107CBE45ACA74091                           2020       Raw
       File Hash:                                                         08:01:36
       6BF10EE11AF1973ADB109573502645CC2728A0B4627C4B292E438948214CDE5F
15     Info Hash:                                                         04-05-     Blacked   03-17-2020   04-17-2020   PA0002246171
       4027AF1421AE2D9BED00B53E01979BB89ADD9B1E                           2020       Raw
       File Hash:                                                         10:43:40
       90AB2E788BB710259D4A9DCFD9E2C65C0643D86AC847DAFA0BFED4550E27D3A6
16     Info Hash:                                                         04-05-     Blacked   03-23-2020   04-17-2020   PA0002246101
       FE5B9EFC4BF17A8689721558696ED93FCC6EB9E2                           2020       Raw
       File Hash:                                                         10:43:31
       8E0DCB59EE4296031AE1C10776D4FD542F63A966F253937709FF7D1ABCB0C5EE
17     Info Hash:                                                         04-05-     Blacked   03-07-2020   04-17-2020   PA0002246118
       F0B1D1D29F6E1277281FC9500A67965B64DF08EC                           2020       Raw
       File Hash:                                                         10:43:06
       E3CD0158EAE9CB652165410A6816EE6EEBE0BD75A849CDFEE5D2716AEADBF20D
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         04-05-     Blacked   03-12-2020   04-17-2020   PA0002246106
       272AA48D377D9D07F1E19D19D64DE273AE6CAD89                           2020       Raw
       File Hash:                                                         10:42:53
       3120FC1318BF943B30842B691AC19032EB9AC10876CE65F23160ADF3117ECEBD
19     Info Hash:                                                         03-09-     Blacked   02-26-2020   04-17-2020   PA0002252443
       E8872783C21C5279829C2E3308ADBD663024982C                           2020       Raw
       File Hash:                                                         05:42:53
       851815009B495D851AB102854AEA131A4BA79B5768D62C179A89F06ACF150425
20     Info Hash:                                                         02-23-     Blacked   02-21-2020   03-18-2020   PA0002241534
       F3186A83F56B483866D39836F6F88E079AC036CA                           2020       Raw
       File Hash:                                                         09:16:59
       FE9FF49A959C72F52A57CFF985260BE3D4BF7BC1EE0FF4A0C1249188F5EECA79
21     Info Hash:                                                         02-02-     Blacked   01-22-2020   02-20-2020   PA0002229057
       1FA627D7433CB3C9F880EE885DF024646BD25081                           2020       Raw
       File Hash:                                                         06:22:22
       C2190F1BA3B7B713F58C1FC9F31ECCBDD01F1807E5C00FBEB4E9220A89F3CD4F
22     Info Hash:                                                         02-02-     Blacked   01-27-2020   03-15-2020   PA0002240550
       AA4BE843A51F57F2C364C24DD5D7ECF2C647F652                           2020       Raw
       File Hash:                                                         06:22:14
       CEDD4C9C7B46CA14DA4782D089600800BF98E22C7C6E36116628A7F20EAE5A4C
23     Info Hash:                                                         02-02-     Blacked   01-30-2020   02-20-2020   PA0002237624
       C36B70D35B13EC6143CD098E5424C872C0B7D9CC                           2020
       File Hash:                                                         06:21:40
       82651A793EDFCEF027EAA97231B6B487B2A6A7722A8959851C1A6668157DB9AD
24     Info Hash:                                                         02-02-     Blacked   02-01-2020   03-15-2020   PA0002240553
       8E6EED497401E5632882329A13CCE181E0D45A1E                           2020       Raw
       File Hash:                                                         06:21:18
       7EF068634F9DBFFFF69D13096D059481F3BD7CB4C08FB71B20294D69CF19CB36
25     Info Hash:                                                         01-19-     Blacked   01-17-2020   02-20-2020   PA0002229055
       1B893F676E56773ED5FF82FD7DF25116F8541544                           2020       Raw
       File Hash:                                                         07:29:43
       1EE98A390083C0D4271E26488268586A62B40C29597ADC4E0583F5AF23D02873
26     Info Hash:                                                         01-06-     Blacked   01-02-2020   02-04-2020   PA0002225581
       5E7F93C6563BE169D2D7BCB4E45D4FC544F3852B                           2020       Raw
       File Hash:                                                         02:13:44
       1B94FF3FCB7A25CF83B9840E3138BC4228DCD601C1855AB9958DABA504A638CF
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         12-30-     Blacked   12-23-2019   01-03-2020   PA0002219636
       EDC117554BA9BC29EDB056B257D9948225F655F7                           2019       Raw
       File Hash:                                                         02:22:00
       10A058FE6D43AC943CF5243E9974D6DF52914912EA3CA3D459BD0EA5CB7F626A
28     Info Hash:                                                         12-22-     Blacked   11-25-2019   12-09-2019   PA0002216263
       609925695807CF8D58C61A83C0667EBFACA3059B                           2019       Raw
       File Hash:                                                         11:49:22
       AA82A2D655EFAE26069B693C159D006EA3D308A84159E1F920E2BB80F6B5A1B8
29     Info Hash:                                                         12-22-     Blacked   12-03-2019   01-03-2020   PA0002233431
       7C9E406FAB73FAC20B6EAC7AE1FE5084E32999D0                           2019       Raw
       File Hash:                                                         11:47:53
       0388173B9A6A5334727357D81BCFE3D1C4DE85EBE1BF01E463182DA5BB5141EF
30     Info Hash:                                                         12-22-     Blacked   12-08-2019   12-17-2019   PA0002217664
       4F0ECF1B69BFA8516FF063718BEBC286AEDF8110                           2019       Raw
       File Hash:                                                         11:47:35
       EB3FBCF6FD50335AD6148D5014D7E58238F9A8CC0B88909D48FE0F2DB75047E7
31     Info Hash:                                                         12-22-     Blacked   12-13-2019   01-22-2020   PA0002234865
       2655BEEFBAFF153960693DA4B9EA90A70BAE2688                           2019       Raw
       File Hash:                                                         11:39:40
       E717B0E20B4FBCB9065E7CB186FE8ABAA1435D5CBA4976686571334D75114CE8
32     Info Hash:                                                         12-15-     Blacked   12-06-2019   12-17-2019   PA0002217665
       236B1304965012B0E615EBF0DBF52A76802D94F8                           2019
       File Hash:                                                         07:13:01
       5BA46F2ED179A689C8B25E31E749859F746527491C57CE8B1CF69CA6CA30065C
33     Info Hash:                                                         12-15-     Blacked   12-11-2019   01-03-2020   PA0002219628
       1EA48E1F6DBD3891D1929262A5C26C9553094E6C                           2019
       File Hash:                                                         07:12:34
       CAEE9A7D3D5970189B1C296E843A7799D9ACC970FD7812D96E3C1AA25CE52332
34     Info Hash:                                                         11-24-     Blacked   11-18-2019   12-09-2019   PA0002216261
       28D3A9EC7C6D3A6CA0C764EF6A4C9B3E0430CB8E                           2019       Raw
       File Hash:                                                         08:51:17
       1417D1E60436334A79D2822C80AED298E3266BFDD20924CF09A99BC161454E14
35     Info Hash:                                                         11-17-     Blacked   11-13-2019   11-27-2019   PA0002213997
       E23CD6D162B5CFC41C5A68A2DB0AB011372772BD                           2019       Raw
       File Hash:                                                         07:57:50
       AE6089234A76060863AADCE6833291F4661DEABC658EF6E32B664F1EA9215913
                       Case 1:21-cv-13414-RBK-KMW Document 1-1 Filed 07/07/21 Page 5 of 5 PageID: 17

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         09-29-     Blacked   09-22-2019   10-07-2019   PA0002205469
       994C1AD3F78A51A989661CCAD3952CD9FE710082                           2019
       File Hash:                                                         07:23:42
       8B9C898584909AC3002518CB8126A17F42EED60CC05AF8E15DF975C63D38D428
37     Info Hash:                                                         07-22-     Blacked   07-19-2019   09-10-2019   PA0002199415
       986B362461B8CD0DD39A895A41218E67D5B3B884                           2019
       File Hash:                                                         01:39:47
       C4607AA13F404543ADE9F84AE35B56662886B40B3076EF64102A0FA0408F4253
